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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,
                                                   Civil Case No. 20-2935
                           Plaintiff,

             v.

 STEPHANIE WINSTON WOLKOFF,

                           Defendant.



                                  [PROPOSED] ORDER

             This case is before the Court for consideration of the Motion to Dismiss the

Complaint filed by Defendant Stephanie Winston Wolkoff.       Upon review of the parties’

submissions, it is hereby ORDERED on this ___ day of ______________, 202__, that:

             1.     Defendant’s Motion is GRANTED; and

             2.     all claims in the Complaint are DISMISSED with prejudice.


                                                IT IS SO ORDERED:




                                                The Honorable Colleen Kollar-Kotelly
                                                United States District Judge
